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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO
                             Magistrate Judge Kathleen M. Tafoya

 Civil Action No. 19–cv–00230–RBJ–KMT


 JENNIFER POWELL,

        Plaintiff,

 v.

 CREDIT SERVICE COMPANY, INC.,

        Defendant.


               ORDER SETTING RULE 16(b) SCHEDULING CONFERENCE
                       AND RULE 26(f) PLANNING MEETING


        This case has been referred to Magistrate Judge Kathleen M. Tafoya by District Judge, R.
 Brooke Jackson pursuant to the Order of Reference filed January 29, 2019. See 28 U.S.C.
 §636(b)(1)(A) and (B) and Fed. R. Civ. P. 72(a) and (b).

        IT IS HEREBY ORDERED:

        (1) The court shall hold a Fed. R. Civ. P. 16(b) scheduling and planning conference on

                                          April 1, 2019, at
                                    9:45 a.m. (Mountain Time).

 The conference shall be held in the Colorado Springs courtroom, Suite 101, 212 N. Wahsatch
 Avenue, Colorado Springs, Colorado. If this date is not convenient for any party1, he or she
 shall file a motion to reschedule the conference to a more convenient time. Please remember
 that anyone seeking entry into the Colorado Springs courtroom will be required to show
 valid photo identification. See D.C.COLO.LCivR 83.2B.



 1
  The term “party” as used in this Order means counsel for any party represented by a lawyer, and
 any pro se party not represented by a lawyer.
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 Any party who wishes to attend the conference by telephone must file a motion. However,
 telephonic participation will only be allowed by a land line. No cellular, cordless or
 speaker phones will be permitted.

         A copy of instructions for the preparation of a scheduling order and a form scheduling
 order can be downloaded from the Court’s website at
 www.cod.uscourts.gov/CourtOperations/RulesProcedures/Forms.aspx (Scroll down to the bold
 heading “Standardized Order Forms”). For patent cases, a copy of a form scheduling order in a
 patent case can be downloaded from the Court’s website at
 http://www.cod.uscourts.gov/JudicialOfficers/ArticleIMagistrateJudges/HonKathleenMTafoya.a
 spx. Parties shall prepare the appropriate proposed scheduling order in accordance with the
 Court’s form.

        The parties shall submit their proposed scheduling order, pursuant to District of Colorado
 Electronic Case Filing (“ECF”) Procedures, on or before:

                                     5:00 p.m. (Mountain Time) on
                                            March 25, 2019.

 Attorneys and/or pro se parties not participating in ECF shall submit their proposed scheduling
 order on paper to the Clerk’s Office. However, if any party in the case is participating in ECF, it
 is the responsibility of that party to submit the proposed scheduling order pursuant to the District
 of Colorado ECF Procedures. In addition, the parties are required to send a Word copy of the
 proposed scheduling order to the chambers email, tafoya_chambers@cod.uscourts.gov.

          The plaintiff shall notify all parties who have not yet entered an appearance of the date
 and time of the scheduling/planning conference, and shall provide a copy of this Order to those
 parties.

         (2) In preparation for the scheduling/planning conference, the parties are directed to
 confer in accordance with Fed. R. Civ. P. 26(f). The court strongly encourages the parties to
 meet face to face, but should that prove impossible, the parties may meet by telephone
 conference. All parties are jointly responsible for arranging and attending the Rule 26(f)
 meeting.

         During the Rule 26(f) meeting, the parties shall discuss the nature and basis of their
 claims and defenses and the possibilities for a prompt settlement or resolution of the case, make
 or arrange for the disclosures required by Fed. R. Civ. P. 26(a)(1), and develop their proposed
 scheduling/discovery plan. The parties should also discuss the possibility of informal discovery,
 such as conducting joint interviews with potential witnesses, joint meetings with clients,
 depositions via telephone, or exchanging documents outside of formal discovery.




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         In those cases in which: (i) the parties’ substantive allegations involve extensive
 computer-generated records; (ii) a substantial amount of disclosure or discovery will involve
 information or records in electronic form (i.e., e-mail, word processing, databases); (iii) expert
 witnesses will develop testimony based in large part on computer data and/or modeling; or (iv)
 any party plans to present a substantial amount of evidence in digital form at trial, the parties
 shall confer regarding steps they can take to preserve computer records and data, facilitate
 computer-based discovery and who will pay costs, resolve privilege issues, limit discovery costs
 and delay, and avoid discovery disputes relating to electronic discovery. The parties shall be
 prepared to discuss these issues, as appropriate, in the proposed Scheduling Order and at the
 scheduling and planning conference.

        These are the minimum requirements for the Rule 26(f) meeting. The parties are
 encouraged to have a comprehensive discussion and are required to approach the meeting
 cooperatively and in good faith. The parties are reminded that the purpose of the Rule 26(f)
 meeting is to expedite the disposition of the action, discourage wasteful pretrial activities, and
 improve the quality of any eventual trial through more thorough preparation. The discussion of
 claims and defenses shall be a substantive, meaningful discussion.

        The parties are reminded that pursuant to Fed. R. Civ. P. 26(d), no discovery shall be
 sought prior to the Rule 26(f) meeting.

         (3) The parties shall comply with the mandatory disclosure requirements of Fed. R. Civ.
 P. 26(a)(1). Counsel and parties are reminded that mandatory disclosure requirements
 encompass computer-based evidence which may be used to support claims or defenses.
 Mandatory disclosures must be supplemented by the parties consistent with the requirements of
 Fed. R. Civ. P. 26(e). Mandatory disclosures and supplementation are not to be filed with the
 Clerk of the Court.

         (4) All parties are expected to be familiar with the United States District Court for the
 District of Colorado Local Rules of Practice (D.C.COLO.LCivR.). Copies are available from
 Office of the Clerk, United States District Court for the District of Colorado, or through the
 District Court’s web site: www.cod.uscourts.gov.

       All out-of-state counsel shall comply with D.C.COLO.LCivR. 83.3 prior to the
 Scheduling/Planning Conference.

        Dated this 30th day of January, 2019.

                                                       BY THE COURT:



                                                       _________________________________
                                                       Kathleen M. Tafoya

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                                          United States Magistrate Judge




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